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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
             Plaintiff,                    )
                                           )
      v.                                   )     CASE NO.: 2:19-MC-3900-WKW
                                           )                [WO]
GLENN EDWARD NUTT,                         )
                                           )
             Defendant,                    )
                                           )
MORGAN STANLEY,                            )
                                           )
             Garnishee.                    )

                                         ORDER
      It is ORDERED as follows:

      (1)    Garnishee Morgan Stanley shall promptly forward the identified nonexempt

funds (see Doc. # 5) to the Clerk of the Court, One Church Street, Suite B-110,

Montgomery, AL 36104; and

      (2)    The Clerk of Court is DIRECTED to apply these funds to the restitution

balance owed by Defendant.

      It is further ORDERED that, pursuant to 28 U.S.C. § 3205(c)(10), this garnishment

shall remain in effect until satisfaction of the debt owed to Plaintiff, until exhaustion of

the property in the possession, custody, or control of the Garnishee in which the debtor

has a substantial nonexempt interest, or by order of this court quashing the Writ of

Garnishment.
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      Upon termination of the Writ of Garnishment as outlined above and as required by

28 U.S.C. § 3205(c)(9)(B), Plaintiff United States of America shall make a cumulative

accounting of all property it receives under the Writ of Garnishment to the Garnishee and

Defendant within ten days after the garnishment terminates. Within ten days of receipt

of such accounting, Defendant and/or Garnishee may file a written objection to the

accounting, stating the grounds for objection, and request a hearing.

      The Clerk of the Court is DIRECTED to administratively close this action subject

to reopening for good cause shown. The administrative closure does not affect the validity

of the continuing Writ of Garnishment.

      DONE this 28th day of September, 2020.


                                             /s/ W. Keith Watkins
                                          UNITED STATES DISTRICT JUDGE




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